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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 United States of America,                          Case No. 3:11 CR 103

                                Plaintiff,          ORDER

                -vs-                                JUDGE JACK ZOUHARY

 Timothy Fisher

                                Defendant.



       This criminal case was referred to United States Magistrate Judge James Knepp, with consent

of the parties, to conduct a change of plea hearing. The Magistrate Judge filed his Report and

Recommendation (R&R) (Doc. No. [9]); no Objection has been filed.

       This Court finds that the requirements of Federal Criminal Rule 11 have been satisfied;

Defendant was properly afforded his rights under the United States Constitution; Defendant was

correctly found to be competent, aware of the charges and consequences of conviction and of the

waiver of his rights; and Defendant knowingly, intelligently and voluntarily consented to the

Magistrate Judge and entered a guilty plea for which there was an adequate factual basis.

       After a de novo review of the record and R&R, the Magistrate’s findings are adopted,

Defendant’s guilty plea is accepted, and a finding of guilty is entered.

       IT IS SO ORDERED.

                                                          s/ Jack Zouhary
                                                      JACK ZOUHARY
                                                      U. S. DISTRICT JUDGE

                                                      May 20, 2011
